Case 1:09-cr-00466-BMC-RLM Document 564 Filed 01/28/19 Page 1 of 2 PageID #: 6846




                                                                    	


                                           January 28, 2019


  The Honorable Brian M. Cogan
  United States District Judge
    for the Eastern District of New York
  225 Cadman Plaza East
  Brooklyn, NY 11201


                 Re:     United States v. Joaquín Archivaldo Guzmán Loera
                         Case No. 09-CR-0466(S-4)(BMC)


  Dear Judge Cogan:

                  I respectfully write to request that the Court include the following language in its
  charge to the jury:

                 In this case, the defendant contends that the government’s proof fails to
         show the existence of the conspiracies charged. Rather, defendant contends that
         the government’s proof at most establishes the existence of several separate and
         independent conspiracies.
                 Whether there existed a single unlawful agreement, or many such
         agreements, or indeed, no agreement at all, is a question of fact for you, the jury,
         to determine in accordance with the instructions I am about to give you.
                 With respect to each conspiracy charge, you must decide whether the
         government has proven the specific conspiracy charged in the count you are
         considering. In other words, did the proof establish the existence of a single
         conspiracy or did the proof establish more than one or several
         conspiracies?
                 Proof of several separate and independent conspiracies is not proof of any
         one conspiracy charged in the Indictment, unless one of the conspiracies proven is
         the specific conspiracy charged in a count in the Indictment. In connection with
         your consideration of the conspiracies charged in the Indictment, there is no
         requirement that the persons with whom the defendant conspired be named in the
         Indictment. The language in the charged conspiracies, “together with others,”
         permits you to consider the possible participation of another or others not named
         in the Indictment.
                 Where persons join together to further a common unlawful design or
         purpose, a single conspiracy exists. By way of contrast, multiple conspiracies
         exist when there are separate unlawful agreements to achieve distinct purposes.
  	



                                                                                                         	
Case 1:09-cr-00466-BMC-RLM Document 564 Filed 01/28/19 Page 2 of 2 PageID #: 6847

                                                                   	
                                                      	
                                                      	
                 You may find a single conspiracy despite the fact that there were changes
         in either personnel, or activities, or both, so long as you find that some of the co-
         conspirators continued to act for the entire duration of the conspiracy for the
         specific purpose charged in that count of the Indictment. Moreover, the fact that
         the parties are not always identical does not necessarily imply that separate
         conspiracies existed. A single conspiracy is not transposed into multiple ones
         simply by a lapse of time, changes in membership, or a shift in the locale of
         operations. However, the fact that the criminal conduct by various persons was
         the same over time, e.g., sale of narcotics, does not necessarily mean that all such
         conduct was undertaken as part of a single conspiracy. You will need to consider
         each of the conspiracies charged in turn.
                 If the government fails to prove the existence of one of the conspiracies
         charged, you must of course acquit the defendant with respect to that particular
         conspiracy count. If, however, the government proves the existence of the
         specific conspiracy charged in a particular count, you must decide whether a
         defendant knowingly and willfully joined that conspiracy and all essential
         elements of the offense about which I have instructed you.

  This language is modified from Sands & Siffert and was given by the Honorable Raymond J.

  Dearie, in a one-defendant trial, United States v. Carlos Patino Restrepo, 02-CR-1188. Mr.

  Guzmán requests that this language be inserted before the last paragraph of the conspiracy

  charge on page 28.


                Thank you for your consideration of this request.

                                                Respectfully submitted,

                                                        /s/

                                                A. Eduardo Balarezo



  cc: The parties via ECF




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